                 Case 2:16-cr-00005-BAT Document 23 Filed 12/02/16 Page 1 of 2



                                                        THE HONORABLE BRIAN A. TSUCHIDA
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,                                No. CR 16-0005 BAT
 9
                                  Plaintiff,                  [PROPOSED] ORDER
10
                                                              GRANTING MOTION FOR
11          v.                                                RETURN OF PASSPORT

12   JONATHAN M. LOVE,
13
                                  Defendant.
14
15
            The Court, having considered the motion of defendant Jonathan Love for return of his
16
     United States passport to defense counsel, any response filed by the government and any reply
17
18   filed by Love, hereby GRANTS the Defendant Love’s motion.

19          The Court FINDS:
20
        1. Mr. Love surrendered his passport as directed by the Court pursuant to a special
21
            condition of the Appearance Bond entered on January 15, 2016.
22
        2. Mr. Love entered a plea of guilty to a gross misdemeanor on January 15, 2016.
23
24      3. Mr. Love was sentenced by the Court on April 20, 2016, and the Court modified his

25          supervision on October 26, 2016.
26
        4. Mr. Love completed his term of confinement and paid his restitution in full.
27
        5. Mr. Love’s one-year period of supervised release commenced on June 22, 2016 and will
28

      [PROPOSED] ORDER GRANTING MOTION FOR RETURN OF                          McKay Chadwell, PLLC
      PASSPORT - 1                                                          600 University Street, Suite 1601
                                                                            Seattle, Washington 98101-4124
      NO. CR 16-0005 BAT                                                  (206) 233-2800 Fax (206) 233-2809
              Case 2:16-cr-00005-BAT Document 23 Filed 12/02/16 Page 2 of 2



           terminate on June 22, 2017.
 1
 2      6. No reason exists not to return Mr. Love’s passport to defense counsel.

 3      7. The Judgment does not prohibit Mr. Love from possessing a valid passport.
 4      8. There is nothing about Mr. Love or about this case that merits the destruction of his
 5
           passport rather than return of that document to defense counsel.
 6
           Accordingly, IT IS HEREBY ORDERED that:
 7
 8      1. Mr. Love’s passport shall be returned via U.S. mail to defense counsel, Robert G.

 9         Chadwell and Thomas M. Brennan, at McKay Chadwell, PLLC, 600 University Street,
10
           Suite 1601 One Union Square, Seattle, WA 98101, for safekeeping during Mr. Love’s
11
           supervised release.
12
        2. Defense counsel may return Mr. Love’s passport to him upon Mr. Love’s completion of
13
14         his supervised release.
15         IT IS SO ORDERED this             day of       , 2016.
16
17
18                                                       HON. BRIAN A. TSUCHIDA
19                                                       United States Magistrate Judge
     PRESENTED BY:
20
     McKAY CHADWELL, PLLC
21
22   s/ Robert G. Chadwell
     s/ Thomas M. Brennan
23   Robert G. Chadwell, WSBA No. 22683
     Thomas M. Brennan, WSBA No. 30662
24   Attorneys for Jonathan Love
25   600 University Street, Suite 1601
     Seattle, WA 98101-4124
26   Phone: (206) 233-2800
     Fax: (206) 233-2809
27
     Email: rgc1@mckay-chadwell.com
28           tmb@mckay-chadwell.com

     [PROPOSED] ORDER GRANTING MOTION FOR RETURN OF                            McKay Chadwell, PLLC
     PASSPORT - 2                                                            600 University Street, Suite 1601
                                                                             Seattle, Washington 98101-4124
     NO. CR 16-0005 BAT                                                    (206) 233-2800 Fax (206) 233-2809
